
PER CURIAM.
We have for review Mixon v. State, 583 So.2d 817, 817 (Fla. 1st DCA 1991), in which the district court certified the following question of great public importance: *
Is a first-degree felony punishable by a term of years not exceeding life imprisonment subject to an enhanced sentence of life imprisonment pursuant to the provisions of the habitual felony offender statute?
We answered this question in the affirmative in Burdick v. State, 594 So.2d 267 (Fla.1992). We therefore approve the opinion below.
It is so ordered.
SHAW, C.J., and OVERTON, McDonald, barkett, grimes, KOGAN and HARDING, JJ., concur.

 We have jurisdiction pursuant to article V, section 3(b)(4) of the Florida Constitution.

